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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA       *
                                *
     v.                         *    CRIMINAL NO. 1:19-CR-449-LO
                                *
 KENNETH WENDELL RAVENELL,      *
                                *
          Defendant             *
                                *
                             *******
   UNITED STATES’ MOTION FOR PRELIMINARY ORDER OF FORFEITURE

       The United States of America, by and through undersigned counsel, respectfully moves

this Court for the issuance of a Preliminary Order of Forfeiture in the above-captioned case

pursuant to 18 U.S.C. § 982(a)(1) and Rule 32.2(b) of the Federal Rules of Criminal Procedure. A

proposed Preliminary Order of Forfeiture is submitted herewith. In support thereof, the United

States sets forth the following:

                                          Background

       On July 22, 2021, a federal grand jury in the District of Maryland returned a Second

Superseding Indictment, charging Kenneth Wendell Ravenell (the “Defendant”) with RICO

Conspiracy, in violation of 18 U.S.C. § 1962(d) (Count One); Money Laundering Conspiracy, in

violation of 18 U.S.C. § 1956(h) (Count Two); Narcotics Conspiracy, in violation of 21 U.S.C.

§ 846 (Count Three); Conspiracy to Commit Offenses Against the United States, in violation of

18 U.S.C. § 371 (Count Four); Obstructing an Official Proceeding, in violation of 18 U.S.C.

§ 1512(c) (Count Five); and Falsification of Record, in violation of 18 U.S.C. § 1519 (Counts Six

and Seven). ECF No. 281.

       The Second Superseding Indictment also included a forfeiture allegation, which provided

notice that upon the Defendant’s conviction of the offense alleged in Count Two, the United States
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intended to seek forfeiture, pursuant to 18 U.S.C. § 982(a)(1), of any property, real or personal,

involved in such offense, or any property traceable to such property. 1 The forfeiture allegation

also gave notice to the Defendant that if any of the forfeitable property was unavailable as a result

of any act or omission of the Defendant, the United States would seek forfeiture of substitute

property up to the value of the forfeitable property pursuant to 21 U.S.C. § 853(p). Id.

       Following a sixteen-day jury trial, on December 28, 2021, a federal jury sitting in the

District of Maryland returned a guilty verdict on Count Two of the Second Superseding

Indictment. ECF No. 490.

       By this motion, the United States now requests that the Court enter a preliminary order of

forfeiture, pursuant to 18 U.S.C. § 982(a)(1) and Rule 32.2(b)(2) of the Federal Rules of Criminal

Procedure, imposing a money judgment against the Defendant in the amount of $1,800,000 in U.S.

currency.

                                         Applicable Law

A.     Forfeiture for Money Laundering Offenses

       The criminal forfeiture statute requires the Court to order forfeiture as part of the

Defendant’s sentence for a violation of 18 U.S.C. § 1956. 18 U.S.C. § 982(a)(1) (stating “[t]he

court . . . shall order that the person forfeit to the United States any property, real or personal,

involved in such offense, or any property traceable to such property”); see also United States v.

Blackman, 746 F.3d 137, 143 (4th Cir. 2014) (holding that criminal forfeiture is mandatory

because “[t]he word ‘shall’ does not convey discretion. It is not a leeway word, but a word of

command.”) (quoting United States v. Fleet, 498 F.3d 1225, 1229 (11th Cir. 2007)); United States




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  The Second Superseding Indictment also provided notice of the United States’ intent to seek
forfeiture pursuant to applicable statutes upon the Defendant’s conviction on Counts One or Three.


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v. Louthian, 756 F.3d 295, 307 (4th Cir. 2014) (where the government follows the procedures in

Fed. R. Crim. P. 32.2, criminal forfeiture is mandatory under 18 U.S.C. § 982(a)).

        Forfeiture pursuant to 18 U.S.C. § 982(a)(1) encompasses more than just the proceeds of

the crime. It “allows the government to obtain a money judgment representing the value of all

property ‘involved in’ the offense, including ‘the money or other property being laundered (the

corpus)’ and ‘any property used to facilitate the laundering offense.’” United States v. Huber, 404

F.3d 1047, 1056 (8th Cir. 2005) (quoting United States v. Hawkey, 148 F.3d 920, 927 (8th Cir.

1998); see also United States v. Wyly, 193 F.3d 289, 302 (5th Cir. 1999) (explaining that untainted

property that is co-mingled with tainted property derived from illicit sources may constitute a

facilitating property). Forfeiture of co-mingled funds is indicated when the tainted and untainted

funds are pooled to facilitate or obscure the illegal conduct. See United States v. Puche, 350 F.3d

1137, 1153 (11th Cir. 2003); see also United States v. Kivanc, 714 F.3d 782, 794 (4th Cir. 2013)

(stating that pursuant to 18 U.S.C. § 981(a)(1)(A), the civil forfeiture statute for violations of 18

U.S.C. § 1957, “when legitimate funds are commingled with property involved in money

laundering . . . the entire property, including the legitimate funds, is subject to forfeiture.”).

B.      The Preponderance Standard Applies to Forfeiture Determinations

        Because criminal forfeiture is part of a defendant’s sentence, the government’s burden to

establish the forfeitability of property is governed by the preponderance of the evidence standard.

See United States v. Tanner, 61 F.3d 231, 234 (4th Cir. 1995) (because “forfeitures are a penalty .

. . the preponderance standard should govern forfeiture questions”); United States v. Cherry, 330

F.3d 658, 669 (4th Cir. 2003) (because “[a] judgment of forfeiture . . . is not a separate conviction

. . . [and instead] constitutes part of the sentence . . . the court properly instructed the jury that the

preponderance standard governed its [forfeiture] findings.”).




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C.        Forfeiture Money Judgments

          A forfeiture order may take the form of a personal money judgment. See Fed. R. Crim. P.

32.2(b)(1)(A) (“If the government seeks a personal money judgment, the court must determine the

amount of the money that the defendant will be ordered to pay.”). A defendant is not entitled to a

jury determination on the amount a forfeiture money judgment. See United States v. Jameel, 626

F. App’x 415, 419 (4th Cir. 2015) (holding that defendant was not entitled to a jury trial to

determine the amount of the forfeiture money judgment) (citing Fed. R. Crim. P. 32.2(b)(1)(A)

and United States v. Curbelo, 726 F.3d 1260, 1277 (11th Cir. 2013)).

          The Court determines the amount of any money judgment “based on evidence already in

the record . . . and on any additional evidence or information submitted by the parties and accepted

by the court as relevant and reliable.” Fed. R. Crim. P. 32.2(b)(1)(B); see also United States v.

Farkas, 474 F. App’x 349, 360 (4th Cir. 2012) (stating that under Rule 32.2(b)(1)(B), the Court

may base its forfeiture determination on evidence already in the record, including the trial record,

and on any additional evidence or information submitted); United States v. Sabhnani, 599 F.3d

215, 262–63 (2d Cir. 2010) (noting that forfeiture may be based on testimony from guilt phase of

trial).

          The calculation of a forfeiture money judgment amount need not be exact because

forfeiture is punitive, not restitutive. See United States v. Roberts, 660 F.3d 149, 166 (2d Cir.

2011) (“[T]he law does not demand mathematical exactitude in calculating the proceeds subject to

forfeiture . . . . Rather . . . district courts may make reasonable extrapolations supported by a

preponderance of the evidence.”) (internal quotations omitted). The Fourth Circuit has held that a

district court may not decline to enter a forfeiture order based on a defendant’s inability to pay.




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See Blackman, 746 F.3d at 143-44 (“The fact that a defendant is indigent or otherwise lacks

adequate assets to satisfy a judgment does not operate to frustrate entry of a forfeiture order.”).

D.     Substitute Property

       If directly forfeitable property is not available because of a defendant’s act or omission, the

Court shall order forfeiture of substitute assets to satisfy a money judgment. See 21. U.S.C.

§ 853(p); 18 U.S.C. § 982(b)(1) (incorporating the procedures of 21 U.S.C. § 853(p) for forfeitures

pursuant to 18 U.S.C. § 982(a)); United States v. Alamoudi, 452 F.3d 310, 314 (4th Cir. 2006)

(holding that the forfeiture of substitute assets under section 853(p) is “not only permitted but

mandated . . . if the conditions of 21 U.S.C. § 853(p) [are] satisfied”). The Fourth Circuit has

observed that “[c]ourts interpret this provision liberally so as to thwart efforts by a defendant to

circumvent the economic impact of an anticipated criminal forfeiture sentence.” Id. at 316

(internal quotation marks and citations omitted).

                                             Discussion

       The evidence presented at trial and summarized in the United States’ sentencing

memorandum, ECF No. 552, demonstrates that, with respect to Count Two, the Defendant

personally laundered drug proceeds of the Byrd drug trafficking organization starting in 2011 and

continuing until 2014. The Defendant accepted into his law firm’s trust account approximately

$1.8 million in drug proceeds and funds co-mingled with drug proceeds from the Byrd drug

trafficking organization—i.e., funds involved in the money laundering conspiracy. See, e.g., Gov’t

Ex. 14 (Byrd Criminal Matter Ledger) at ECF No. 552-3, Gov’t Ex. 16 (Byrd Business Ventures

Ledger) at ECF No. 552-11, Gov’t Ex. 18 (Byrd Hotel Matter Ledger) at ECF No. 552-12, Gov’t

Ex. 20 (Byrd Overtown Reborn Matter Ledger) at ECF No. 552-13, Gov’t Ex. 277 (Ledgers

Inflows and Outflows Summary) at ECF No. 552-1; Trial Tr. vol. VIII, 284:16-20 (testimony of




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IRS Special Agent Joaquin Sequeira).

       To the extent the transactions catalogued in the ledgers included untainted funds, the

untainted funds are subject to forfeiture because any co-mingling of untainted funds with drug

proceeds occurred in order to facilitate the money laundering. For example, the evidence at trial

established that the Defendant instructed Byrd to wash and launder Byrd’s drug proceeds using

various bank accounts that also had other cash flow sources, including LOC Marketing, to make

the funds appear to be legitimate and more difficult to trace their source. This is precisely the type

of otherwise untainted funds that should be subject to forfeiture as property “involved in” money

laundering because it facilitated the laundering offense.

       Accordingly, pursuant to 18 U.S.C. § 982(a)(1) and Rule 32.2(b)(2) of the Federal Rules

of Criminal Procedure, the United States is now entitled to a forfeiture money judgment in the

amount of $1.8 million in U.S. currency against the Defendant. The United States submits a

forfeiture hearing is unnecessary given the nature of the evidence introduced at trial as to the value

of the funds involved in the Defendant’s money laundering conviction.

       The United States also respectfully requests that the Court find the conditions set forth in

the substitute asset statute, 21 U.S.C. § 853(p), have been met. Making such a finding now will

obviate the need to do so later should the United States locate assets with which to satisfy the

forfeiture money judgment; it does not relieve the United States of its obligation to file a motion

with the Court and seek an order to forfeit substitute assets. The trial evidence and the Pre-

Sentence Report support such a finding because they indicate funds were transferred to third

parties, co-mingled with other property, and/or cannot be located due to the Defendant’s acts.

       The United States may move at any time, pursuant to Rule 32.2(e)(1)(B) of the Federal

Rules of Criminal Procedure and 21 U.S.C. § 853(p), to forfeit any property of the defendant up




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to the value of the forfeiture money judgment included in the Preliminary Order of Forfeiture.

Upon issuance of any order forfeiting specific property, the United States will publish notice in

accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6) of the Federal Rules of Criminal

Procedure.

       The United States also seeks permission to conduct any discovery that might be necessary

to identify, locate, or dispose of forfeited property, pursuant to Rule 32.2(b)(3) of the Federal Rules

of Criminal Procedure and 21 U.S.C. § 853(m).

       WHEREFORE, the United States requests that this Court:

       (a)     find that the requirements of 21 U.S.C. § 853(p) have been satisfied in this case;

       (b)     enter the Preliminary Order of Forfeiture in the form submitted herewith;

       (c)     include the forfeiture, as set forth in the Preliminary Order of Forfeiture, in the oral

pronouncement of the Defendant’s sentence;

       (d)     retain jurisdiction for the purpose of enforcing the forfeiture; and

       (e)     incorporate the Preliminary Order of Forfeiture in the criminal judgment entered

against the Defendant, pursuant to Federal Rule of Criminal Procedure 32.2(b)(4).

                                       Respectfully submitted,

                                       Philip Selden
                                       Attorney for the United States
                                       Acting Under Authority Conferred by 28 U.S.C. § 515

                               By:     ____________/s/____________
                                       Leo J. Wise
                                       Zachary H. Ray
                                       Assistant United States Attorneys

                                       Derek E. Hines
                                       Special Assistant United States Attorney




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                                   CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Motion for Preliminary Order of Forfeiture, as well as
the proposed Preliminary Order of Forfeiture, were filed through the Electronic Case Filing system
and will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing.

                                                        /s/
                                                        Zachary H. Ray
                                                        Assistant United States Attorney




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